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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  No. 4:14CR00098 JLH

HAROLD MCCOY                                                                     DEFENDANT

                                           ORDER

       Harold McCoy has filed a request to proceed pro se. On June 17, 2014, the Court conducted

a hearing on that request. Mr. McCoy appeared in person and with his appointed lawyer, Assistant

Federal Public Defender Nicole Lybrand. The government was represented by Assistant United

States Attorney Benecia Betton Moore. Mr. McCoy is competent to make the decision as to whether

to proceed pro se. His decision is a knowing and voluntary decision. Therefore, the request is

GRANTED. Document #12. The Court hereby appoints Nicole Lybrand as standby counsel.

       IT IS SO ORDERED this 17th day of June, 2014.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
